Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 1 of 59. PageID #: 388225




                 EXHIBIT 43

                 REDACTED
                       Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 2 of 59. PageID #: 388226
                                                                                                            MCKESSON




McKesson Corporation

Presentation to the U.S. Attorney's Office, Northern
District of West Virginia and DEA

March 12, 2014

Confidential I Exempt from FOIA
For Settlement Purposes Only; Subject to Fed .R.Evid. 408

®      BUSI ESS
       CARE
       CONNECTI VITY




HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKMDL00409 116
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 3 of 59. PageID #: 388227
                                                                                                        MCKESSON


AGENDA

    McKesson's Distribution Network
    McKesson's Regulatory Affairs Team
• Evolution of the CSMP Program in Light of DEA's Focus and
  the Growing Epidemic
• Next Steps




2


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409 117
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 4 of 59. PageID #: 388228
                                                                                                       MCKESSON




                 McKesson's Distribution Network




3


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409118
                    Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 5 of 59. PageID #: 388229
                                                                                                        MCKESSON


                  McKesson's Distribution Network

    28 customer facing distribution centers ; 2 redistribution hubs

    Service approximately 25,000 pharmacies daily
      -    Retail
      -    Mail order
      -    Hospital
      -    Government

    Process 1.2 million order lines per night- electronic
    transmission from the customer




4


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKMDL00409119
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 6 of 59. PageID #: 388230
                                                                                                        MCKESSON


                  McKesson's Distribution Network




5


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409120
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 7 of 59. PageID #: 388231
                                                                                                        MCKESSON




             McKesson's Regulatory Affairs Team




6


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409121
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 8 of 59. PageID #: 388232
                                                                                                        MCKESSON


             McKesson's Regulatory Affairs Team
                            Pre-Settlement Discussions

    Don Walker, Senior Vice President Distribution Operations

    Bruce Russell, VP Regulatory Affairs

    Gary Hilliard, Director Regulatory Affairs




7


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409122
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 9 of 59. PageID #: 388233
                                                                                                        MCKESSON


             McKesson's Regulatory Affairs Team
                                               2007-2012
    Don Walker, Senior Vice President, Distribution Operations

    Bruce Russell , Senior Vice President, Operations

    Gary Hilliard, Director of Regulatory Affairs

•   Tracy Jonas, Director of Regulatory Affairs (12/07)

    Regional Directors of Regulatory Affairs :
      -    Tom McDonald- West Region (02/09)
      -    Dave Gustin- North Central Region (12/07)
      -    Michael Oriente- North East Region (12/07)
      -    Bill de Gutierrez-Mahoney- South Region (12/07)
      -    Linda Martin (Former DEA Investigator) - South Region (09/12)
      -    Joe Lumpkin - North East Region (08/12)
8


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409123
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 10 of 59. PageID #: 388234
                                                                                                        MCKESSON

             McKesson's Regulatory Affairs Team
                                        Recent Additions

    Sr. Director Regulatory (East) - Gary Boggs (former DEA)

• Sr. Director Regulatory (West) - Lisa Young (former DEA)

• Sr. Director Regulatory (Nat'I Accts) - TBD

    Six Directors of Regulatory Affairs (three are former DEA)

• Two Analysts

    Ten Regulatory Affairs Managers

    Total full time resources - 30 employees

9


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409124
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 11 of 59. PageID #: 388235
                                                                                                        MCKESSON




       Evolution of the CSMP Program in Light of
         DEA's Focus and the Growing Epidemic




10


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409125
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 12 of 59. PageID #: 388236
                                                                                                                                  MCKESSON

                2007: McKesson Launches LDMP
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                Dear Mr. Barber:
                        I have attached some important information on the progress of McKesson's
                implementation of the Lifestyle Drug Monitoring Program. As I stated in our last
                conversation, McKesson has implemented this program "nationally" across its 30
                distribution centers ("DC") throughout the country.

                      I have attached a copy of the following infonnatlon:

                    • Amendment to the McKesson DC Operations Manual describing the standard
                      operation procedures (SOPs) for the Lifestyle Drug Monitoring Program;
                    • PowerPoint presentation by Donald Walker, Senior Vice President of Distribution
                      Operations, at McKesson's National Operations Conference in April 2007 (this
                      included the entire distribution network leadership, managers and staff, 110
                      persons);
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11


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                 MCKMDL00409126
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 13 of 59. PageID #: 388237
                                                                                                                    MCKESSON


                2007: McKesson Launches LDMP
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        CD
                        Lifestyle Drug Monitoring Program
                                                                                                    M~KESSON
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                        (LDMP)
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        CT
         a>                 - DU45                                          - Interview customer -
        ....n               - Contact customer
        0                                                                     questionnaire
         "Tl
        ;o              ►   Review                                          - Document
        m
        ~
        0                   - Approve Y/N                               ►   Review
        ~
                            - Document                                      - Approve Y/N
                                               ►   Level 3
                                                   _, Review with regulatory dept
                                                   - Contact local DEA
                                                   - :R eview with Sr Mgt and Legal
                                                   - Contact DEA headquarters
                                               ►   Final Review

                        ~                                        8              NATIONAL OPERAT[ONS CO~FEREt,CE 2007




12


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                              MCKM DL00409127
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 14 of 59. PageID #: 388238
                                                                                                         MCKESSON

        September 19, 2007: Settlement Meeting
• Attendees for McKesson and DEA:
       Don Walker and John Gilbert
     • Joe Rannazzisi, Linden Barber, Michael Mapes, Wayne
       Patrick and Gary Boggs

     Discussed revising suspicious order monitoring program
     • Prior DU-45 report
     • Modification to reports of excessive purchases

     Suspicious customers and the new focus: "Know your
     customer"



13


HIGHLY CONFIDENT IAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409128
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 15 of 59. PageID #: 388239
                                                                                                        MCKESSON

                                         DU-45 Report




14


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409129
                                                 Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 16 of 59. PageID #: 388240
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                                                                2008 Settlement Agreement
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15


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                         MCKM DL00409130
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 17 of 59. PageID #: 388241
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                       2008 Settlement Agreement

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         greement tha 1 K:\ on ,viU no long r bt: r qu· ed t ro ide su piciou order report or y
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16


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                     MCKMDL00409131
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 18 of 59. PageID #: 388242
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                        2008 Settlement Agreement
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                                                                                                                                            .


                   (f) The Compl' an e Revie vs will be deem d satisfactory uni s DE. determine that ne
         or m re o the fa ilities b~ing inspec ed has (i) failed to maintain effi cti e controls against
         di e ion regarding the di"'rribution of any con rolled ubstan e: (ii) failed to detect and r    rt to
         DEA suspicious ord rs of controlled ub lance ; or (iii) failed to meaningfully in estigat ne\v or
           :i tin cu t m r.; regard'ng th customer's legitima e e d to order r purchase ontro11e<l
         substances. The Compliance Re ie\VS hall bed emed ·n t tisfactory,. if DEA pro, ide
         writ en notice ith ·pecific ·1y to cK sson on or befor 16- days from th Effec ive Da e of
            gre m nt, tating that 1 Kc son failed to meet any of th requirement in ithcr ubs ctions
         fl.2(t)(i)~ (ii) or (iii) o lhis greement. DEA shall not find a Compliance R view "not
         sat1sfactory" unles the failure(s) are sufficient to pr ide DEA wjth a factual and legal b sis or
         i suing an Order to how Cause und r 21 U . .C. § 824(a) against one or more of the in peel d
         faci litie . In the event that DEA provides such written notic of a Con1pliancc Review
         Failur (s). DE shall m et and conf~r v.'ith M Kesson within 48 hours rcgardin such a find· g.
         DEA shall c nsider remedial n1easurcs that McKesson has instituted in del rmining v.·h lher the
         C mplian Revie, s arcs tisfi ct ry. A finding of "satisfactory doe not othenvjs            ·pre
         DEA's approval of the ompliance program implemented at any particular di tribut1on center




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17


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                           MCKM DL00409132
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 19 of 59. PageID #: 388243
                                                                                                         MCKESSON


     Development of Electronic Reporting System

     May 2, 2008: MOA signed

• June 2008: McKesson and DEA representatives began
  discussing development of electronic reporting system

• November 4, 2008: DEA provided detail on electronic
  reporting format for Suspicious Orders and Non-ARCOS data

     January 22, 2009: McKesson discontinued DU-45 in
     consultation with DEA




18


HIGHLY CONFIDENT IAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409133
                     Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 20 of 59. PageID #: 388244
                                                                                                                                         MCKESSON

                    Reporting Suspicious Customers
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             To:          el o , Jenny[Je ny.Me o @McKesson.com
             From:         alker, Donald
             Sent        Thur 7/24/2008 11 :08 35
             Subject     Re. Daily Susp1c1ous Or ers Elec ronic Re o 1ng

             It is not my understanding that we would transmtt any suspicious orders. I will clarify next week

             Don

             Sent from my BlackBerry Wirel ss Handheld




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HIGHLY CONFIDENT IAL-SUBJECT TO PROTECTIVE ORDER                                                                                       MCKM DL00409134
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 21 of 59. PageID #: 388245
                                                                                                         MCKESSON


                 July 31, 2008: Meeting with DEA

• Attendees for McKesson
     • Don Walker and John Gilbert

     Attendees for DEA
     • Maureen O'Keefe
     • Christopher Grush
     • Barbara Boockholdt
       Kyle Wright
       Jim Hambuechen
     • Frank Muero



20


HIGHLY CONFIDENT IAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409135
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 22 of 59. PageID #: 388246
                                                                                                             MCKESSON

                  July 31, 2008: Meeting with DEA
                                                                                                      ~ KESSON
                                                                                                                   .   .

         McKesson Pharmaceut·cal
         Centro led Substance Monitoring
         P ogran, (CSMP)



     -   ·-                                                                                           --   ~   -




21


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MCKM DL00409136
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 23 of 59. PageID #: 388247
                                                                                                        MCKESSON

                 July 31, 2008: Meeting with DEA
                                                                                              M ~KESSON


      CSMP Components

              Know the Customer - Establish thresholds

              Monitor CS orders against th resholds

       11 .   Block o rders that exceed threshol s

          . Review and escalation process

              Suspicious ord er/sales reporting

         I. Ana ysis and reports




22

HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409137
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 24 of 59. PageID #: 388248
                                                                                                         MCKESSON

                  July 31, 2008: Meeting with DEA

       CSMP Development H·s ory
       April 2007
         Implemented Lifestyle Drug onitoring Program
            First use of dose units by base code
         - Track monthly sales
         - Revie and document
         - Hydrocodone, Oxycodone AJprazofam , Phen ermine
         Created a three tier revie process
         - lncl'uded customer visits and docume tation
         Detected and reported suspicious pharmacies
       September 2007
         DEA eating triggered ne development - CS P
           1.5   in developn1e t costs
       Ap ii 2008
         Launched cs· P
         Customer commun ications



23

HIGHLY CONFIDENT IAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409138
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 25 of 59. PageID #: 388249
                                                                                                        MCKESSON

                 July 31, 2008: Meeting with DEA
     CSMP
     I. Establish Customer Thresholds
      ►   Established fa mily codes
           Default thresholds based on sto re vol ume


          Existing Custome rs
           Ana y sis of 12 month purchas,e histo ry
              Set thresho ld if ab o ve ·f amily cod e de fault
              De fault if b e low
           Cond uctin g site visits to custo me rs based on priority                1




              Inde p e ndents
              Lifestyl e Drugs
              Dose units g reate r th an 25 K
           Retail Chain - review with inte rna l reg ulato ry



24


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409139
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 26 of 59. PageID #: 388250
                                                                                                        MCKESSON

                 July 31, 2008: Meeting with DEA
     cs         p                                                                               MCKESSON

      Establish Custa                      er Thresholds Cont.

        New Customers
           Questionnaire - purchase history/ business model
           •R egulatory Approval
        Adjusting Thresholds
           1
           R equires documentation
           Regulatory approval
      • Th reshold Database
           15 000+ family codes/threshold baseline
        - 'E ach custo-m er threshold maintaine,                    in the customer master




25

HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409140
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 27 of 59. PageID #: 388251
                                                                                                        MCKESSON

                 July 31, 2008: Meeting with DEA
                                                                                                  SKESSON
      CSMP
      ,I Monitoring Controlled Substances

        I. Custome r Purchases Accumu .ate d M onthly
                 Dose units
                 Base code


       IL

                                                          Under Threshold
                                   Threshold
                                             Over Threshold

                        I I.    Order Blocked        - --        Customer       otified
                                    Item


                        IV. I   Review Process



26

HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409141
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 28 of 59. PageID #: 388252
                                                                                                        MCKESSON

                 July 31, 2008: Meeting with DEA
      CSMP
      Ill. Block·ng O ders

        S ystem B locks O rde rs That Exceed T hresho ld
          S pec ific to that base code
          Spec ific to reg istrant
        No o verri de
           Requires c .ange in thres ho ld
           Doc ume nted thresho ld change re quest req uired
        C usto m e r Notifi catio n
          A lert c ustom e r approaching th esh o ld
          O rder e ntry s ystem s ale rt c ustom e r
            .vo ice notifi es c usto m e r
        A udit conducted
          S ince go live McKesson Internal A ud it has cond ucted systems aud it



27


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409142
                    Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 29 of 59. PageID #: 388253
                                                                                                          MCKESSON

                    July 31, 2008: Meeting with DEA
      CSMP
      IV. Review a d Escalation
         Order Blocked
            (Item)
                !
        Level I Review
        A ctions                                                Outcome Altern atives
          Direct contact customer                                  No change in threshold item
          Asce rtain reason for exceeding                          bocked
          Conduct anal.y sis as required                           Threshold adjusted
             Escalating purchase pattern                        - Escalation to Level 11
             Drug Type
          Documentation




28

HIGHLY CONFIDENT IAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKM DL00409143
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 30 of 59. PageID #: 388254
                                                                                                         MCKESSON

                  July 31, 2008: Meeting with DEA
     CSMP
     IV. Rev·ew and Escalation Cont.
     Level 11 Revie w

         Actions                                              Outcome A lternatives
     c   Cond cted b y Director of                               Leave item b locked
         Regulatory Affairs
                                                                 Adj ust threshold
     • Includes
                                                                 Esca ate to eve I It I
         C ustom e r interview/s ite visit
             Observations of ORA
             C lientele
             Customer traffic
             Source of scripts
           Local DEA in p ut
           Analysis of p urc hases
             Increases



29

HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKMDL00409144
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 31 of 59. PageID #: 388255
                                                                                                        MCKESSON

                  July 31, 2008: Meeting with DEA

       CSMP
       V . Review and Escalation Cont.

       Leve'I 111 Review
         Escalated to SVP of Distribution and Region SVP
         Any customer escalated to Leve'I 111 a I controHed substances
         purchases blocked
         Reported to DEA as suspicious
         Review with McKesson Legal
         Provide DEA with data and findings




30

HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409145
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 32 of 59. PageID #: 388256
                                                                                                        MCKESSON

                  July 31, 2008: Meeting with DEA
      CSMP
      V. Suspicious Order/Sales Reporting

         M,cKesson is prepared to stop exc.e ssive purchases reporting to
         ocal fie.Id office


         Recent contact with DEA to determine forma
            Concern about format and process


         Need to create feedback process on those reported




31


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409146
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 33 of 59. PageID #: 388257
                                                                                                        M~KESSON

                  July 31, 2008: Meeting with DEA
                                                                                                M~K

       Where We Need You Help

           Suspicious Order Reporting
           - Process .and format
           Investigative Support
            Mechanism to discuss customers o interest
            Feed back t at does not compromise investigation
            MutuaHy identifY:ing 'script mil'ls'
       1   Forum to discuss trends
           - E.g. Internet vs. Pain C inic




32

HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409147
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 34 of 59. PageID #: 388258
                                                                                                        MCKESSON




      Example of a Suspicious Customer Report




33


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409148
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 35 of 59. PageID #: 388259
                                                                                                           MCKESSON

                       Suspicious Customer Report
     -----Orig.i na t Message-----
     From. Walker, Donald [mailto:Donald.Walker@McKesson .com]
     Sent: Thursday, August 14, 2008 1:26 PM
     To: Wright, Kyle J.
     Cc: O'Keefe, Maureen E.; John A. Gilbert; Trug,man, Ina; de Gutierrez-Mahoney, Bill; Frost, Gary
     Subject: Notification of Suspicious Customer




     Registrant: Advanced Doctors Prescription Pharmacy San Antonio TX DEA# FA 0408167

     McKesson Pharmaceutical has identified the above registrant as a Suspicious Customer and
     effective 8/12/08 ceased selling all controlled substances to th is reg istrant. During the months of
     June and July the registrant made attempts to increase A lprazolam purchases. Those purchased
     we re blocked by the Controlled Substance Monitoring Program and held to the 8,000 dose unit level
     until the end of the respective months. In July the dose unit limit was reached mid-month . As part of
     our SOP we initiated our level 1 review resulting in a site vis it on 8/6. During that site visit
     irregularit ies were noted which i.ncluded noting that a large percentage of the reg ist rant's
     Alprazolam sales were cash. We escalated to a level 2 and notified the local field office of ou r
     interest in this reg istrant. On 8/8 the pharmacist was arrested by State and Federal authorities for
     Medicaid Fraud which we beca me awa re of on 8/11 .


                              COf1 1dentN1I / EAcmpl rrom FOIA. Subjoc:1 10 FRE 408,.   MCK_ WA_ooooaa
34


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                          MCKMDL00409149
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 36 of 59. PageID #: 388260
                                                                                                        MCKESSON




          DEA Inspections of Distribution Centers
                 Pursuant to 2008 MOA




35


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409150
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 37 of 59. PageID #: 388261
                                                                                                        MCKESSON


          DEA Inspections of Distribution Centers
     2008 MOA: DEA to conduct reviews of the "functionality" of McKesson 's
     diversion compliance program at up to 8 DC's, including Landover,
     Lakeland and Conroe

     Compliance reviews deemed "satisfactory" unless :
      -   Failed to maintain effective controls against diversion
      -   Failed to detect and report to DEA suspicious orders
      -   Failed to meaningfully investigate new or existing customers regarding the
          legitimate need to order controlled substances

     DEA inspected several facilities, including Landover

     During each inspection , DEA was told that McKesson would be reporting
     suspicious customers

•    DEA determined McKesson 's DC's were "satisfactory" per the MOA

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HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409151
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 38 of 59. PageID #: 388262
                                                                                                                       MCKESSON

          DEA Inspections of Distribution Centers


                To:        Wright , Kyle J.[Kyle J.W ng t @usdOJ.gov j
                From:      Walker, Donald
                Sent:      Wed 10/15/2008 7 52 14 P
                Subject    Document

                Kyle th is is th e template document that our DC's are using for the inspection orientation and will
                be the document we wou ld use in our proactive discussion format.

                Also I forgot to ask you . Can you update as to when we ca n stop sending the monthly excessive
                ord r reports to the fi Id offices. From our meeting I wa wa iting until I heard from you before we
                stopped sending those pries of paper.

                Don Walker




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37


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                    MCKMDL00409152
                          Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 39 of 59. PageID #: 388263
                                                                                                                                     M~KESSON

          DEA Inspections of Distribution Centers
                                                                                                                  M~KESSON
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             DC Co rolled Substance Manito                                                                    I       g
             Program (CSMP) Overview
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HIGHLY CONFIDENT IAL-SUBJECT TO PROTECTIVE ORDER                                                                                   MCKM DL00409153
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 40 of 59. PageID #: 388264
                                                                                                           MCKESSON

          DEA Inspections of Distribution Centers
              CSMP
              V. Review and Escala ion
                 Order Blocked
              ~--    Item)

               Level l Review
               Actions                                       Outcome Alternatives
                 Direct contact customer                       No change in threshol'd item
                 Ascerta·n reason for exceeding                blocked
                 Conduct analysis as required                  Threshold adjusted
                    Escalating pur,chase pat ern               Escalation to Level II
                    Drug ype
                 Documentation




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39


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409154
                    Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 41 of 59. PageID #: 388265
                                                                                                          MCKESSON

          DEA Inspections of Distribution Centers
              CSMP
              IV. Review and Escalat·on Con .
             Level II Review

                        Actions                                Outcome Alternatives
                  Conducted by Director of                        Leave item blocked
                  Regulatory Affairs
                                                               - Adjust threshold
              ►   Includes
                                                                  Escalate to Level 111
                    Customer interview/site visit
                      Observations ,of DRA
                      Clientele
                      Customer traffic
                      Source of scripts
                    Local DEA inpu
                    Analysis of purchases
                      Increases




40

HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                         MCKMDL00409155
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 42 of 59. PageID #: 388266
                                                                                                           MCKESSON

          DEA Inspections of Distribution Centers
              CSMP
              V. Review and Escalat on Con .

              Level Ill Review
                Escalated to SVP of Distribution and Region SVP
                Any customer escalated to Level 111 all controlled substances
                purchases blocked
                'Reported to DEA as suspicious
                Review with McKesson Legal
                Provide DEA with data and findings




                                                                                                      12


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HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409156
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 43 of 59. PageID #: 388267
                                                                                                                  MCKESSON

          DEA Inspections of Distribution Centers
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               To:        Tr gman, lna[l na Trugman@ McKesson com] , John A GIibert[]
               From:      Walker, Donald
               Sent:      Fri 11 /2 1/2008 9.19.39 P
               Subject:   DEA lnspec 10n Resul s

               I spoke with Christopher Grush at DEA today. He advised that the Investigations group ha
               completed their review o inspections and concluded we have contro ls in place through our
               program. He has sent that info atlon to Hambecheun. He suggested our counsel contact Jim to
               work through what needs to be done to lift the suspensions.

               Can you follow-up with Hambecheun?

               Don




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42


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                 MCKM DL00409157
                                    Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 44 of 59. PageID #: 388268
                                                                                                                                                   MCKESSON

                                   Reporting Suspicious Customers
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              F                               -.                                                                                                       IC




              Oon
                                                                                                     u   .,,Dlu




                        To:              Wright, Kyle J [Kyle J Wnght@usdoJ gov
                        From:             alker, Donald
                        Sent             Wed 2/11/2009 2 42·55 !OM
                        Subject:         RE. Susp1c1ous Order


                        Thanks Kyle . I will direct to Maureen going forward . Did the listing of closed registran ts me t your needs?

                        Don




     C-0nlldenl I t E• mpt l rom FOtA.. Sub   I LO FRE 408.           ~CK_WVA_ 00016l   Con   <1tttlal I E empl lrom FOIA. Sub ocl lo FRE 408,         CK_WVA_000164



43


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                  MCKMDL00409158
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 45 of 59. PageID #: 388269
                                                                                                        MCKESSON



                        Continued Development of
                       Electronic Reporting System
     March 4, 2009 : McKesson informed DEA that it will only
     report orders once it determines a customer is suspicious.




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HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409159
                                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 46 of 59. PageID #: 388270
                                                                                                                                                          MCKESSON

        Development of Electronic Reporting System
               lo:                                  From: t,lelton, Jenny
                                                    Sent: \/IJ dnesday, I larch 04, 2009 8: 56 Al.1
                                                    To: Goretsas, Noel D
                                                    Cc: l• lelton, Jenny
                                                    Subject: Recap of Suspicious Transaction Report Discussion




     The quantity listed on first electronic Suspicious Report sent to DEA was the quantity that was filled . For
     those two customers Don Walker asked us to report transactions for several days leading up to the date
     McKesson determined the customer was suspicious and when we stopped doing business with the
     customer.




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45


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                         MCKM DL00409160
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 47 of 59. PageID #: 388271
                                                                                                         MCKESSON


                        Continued Development of
                       Electronic Reporting System

     July - December 2009: McKesson coordinated with DEA on
     the continued development of the electronic reporting system

     May 17, 2010: McKesson rolled out a computer program
     used to identify omitted orders from suspicious customers for
     transmission to the DEA

     May 14-25, 2010 : McKesson and DEAjointly tested the
     process for electronically reporting suspicious orders




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HIGHLY CONFIDENT IAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409161
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 48 of 59. PageID #: 388272
                                                                                                         MCKESSON


              January 26, 2012 Meeting with DEA

• Attendees for McKesson and DEA
      -    Don Walker, Ina Trugman and John Gilbert
      -    Larry Cote, Barbara Boockholdt and Mary Johnson-Rochee

     Update on the status of the CSMP program

     DEA asserts that McKesson made only two suspicious order
     reports for Landover during the period from May 2008
     through January 2012




47

HIGHLY CONFIDENT IAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409162
                       Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 49 of 59. PageID #: 388273
                                                                                                             MCKESSON

                   Reporting Suspicious Customers
                                         From: Walker, Donald
                                         Sent: Thursday, February 23, 2012 11:52 AM
                                         To: barbara.j.boockholdt@usdoj.gov
                                         Cc: Trugman, Ina; John A. Gilbert, Jr.
                                         Subject: January 26 meeting Follow-up



      1.    ou indi at d that DEA had received only two suspicious order reports from McKesso during th time
           since our May 2008 settlement agreement. I h ve attached a summary document tha lists customers
           (registra ts) that McKesson identified as suspicious and reported o DEA. I ave also identified several
           potential customers that hrough our dilige ce w chose not to conduct business with due to regulatory
           concerns.




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48

HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MCKMDL00409163
                    Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 50 of 59. PageID #: 388274
                                                                                                         MCKESSON


                    Reporting Suspicious Customers



Herndon Pharmacy & Medic                                         Herndon
Accokeek Pharmacy                    BA6800216                   Accokeek        MD                               1/12/12
Family Meds Pharmac                  FF1958719                   Waldorf         MD                               1/13/12
Lansdowne Pharmacy                   FL0306414                   Lansdowne       VA                               7/15/08
Rockville Pharmacy                   FR1486340                   Rockville       MD                               3/10/10




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  49

  HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409164
                                Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 51 of 59. PageID #: 388275
                                                                                                                                      MCKESSON

                               Reporting Suspicious Customers

           J    JV, 011                                      ,   -
                                                          M!:KESSON
                                                                     .
        A. Marvla1 dNir 1ma
              a. For all retai l pharmacies in the market wee labli hed a 111a i1 11.11n dosage tl1re hold
               B. Network Wide Acti O11s:
                     a. We continue to have meetings a1 d calls with our n1anufacturing partner
                         Specifica ly we have tnet with Mallinckrodt, Purdue an Ac ivis. We share with
                          hem our controlled substance monitoring infonnation and identify opportuni ies for
                         collaboration. This has been very beneficial to all parties.




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50

HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                     MCKM DL00409165
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 52 of 59. PageID #: 388276
                                                                                                        MCKESSON


          McKesson's Continuous Commitment to
                   Combat Diversion

     Information exchange with manufacturers of controlled
     substances
      -    Mallinckrodt
      -    Purdue
      -    Oxy 30mg threshold code

     Involvement in investigators' organizations to obtain
     information about current trends

     Ongoing efforts to learn more about DEA's experience and
     perspective


51


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409166
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 53 of 59. PageID #: 388277
                                                                                                        MCKESSON




                         Enhanced CSMP Program




52

HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00409167
                  Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 54 of 59. PageID #: 388278
                                                                                                        MCKESSON


                         Enhanced CSMP Program

     Retained Larry Cote and Gary Boggs to assist with
     developing enhanced program
     Enhanced program initiated in June 2013
     Enhancements include:
      -    Applied detailed analytics in evaluation of thresholds
      -    Reviewed and reset thresholds
      -    Reviewed and revised criteria for threshold adjustments
      -    Refined suspicious order reporting




53


HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409168
.
54
             Completed
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McKesson CSMP: Analytical Threshold Process

             Statistical
              Analysis


       Pharmacy Controlled
       Substances

     • Calculate Statistical
       Norms

     • Identify Outliers
                                Volume


                                Norms
                                       Threshold
                                       Calculation

     • Geographic Analysis of • Pharmacy


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                              • Stat 1s ,ca


                              • Pharmacy
                                Type
                                              ► Default




HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                Threshold
                                                                  Adjustments
                                                                  to Threshold
                                                                   (If appropriate)

                                                            • Business Model

                                                            • Direct Evidence

                                                            • Corresponding
                                                              Responsibility




                                                      Diligence
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                                                                                                             MCKESSON




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                                                                                         Output: Final Threshold




                                                                                                           MCKMDL00409169
                   Case: 1:17-md-02804-DAP Doc #: 2373-18 Filed: 08/14/19 56 of 59. PageID #: 388280
                                                                                                         MCKESSON


                        McKesson's Commitment to
                          Combating Diversion
     McKesson is committed to continually improving its systems
     to help prevent diversion of controlled substances

• McKesson's Controlled Substances Monitoring Program has
  blocked thousands of orders for controlled substances

     McKesson's Controlled Substances Monitoring Program has
     reduced the amount of controlled substances shipped to
     independent pharmacies




55

HIGHLY CONFIDENT IAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00409170
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